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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiffs,                                4:12CR3056
      vs.
                                                  MEMORANDUM AND ORDER
KENNAN RASHON MALLORY,
                   Defendants.



      The defendant is dissatisfied with defense counsel. Defendant has moved for
appointment of new counsel.      The above-named defendant is eligible for appointed
counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended
Criminal Justice Act Plan for the District of Nebraska.      After conferring with the
defendant,

      IT IS ORDERED:

      1)     The Federal Public Defender for the District of Nebraska shall provide the
             court with a draft appointment order (CJA Form 20) for standby counsel to
             assist the defendant and the court in determining whether new counsel
             should be appointed to represent the defendant in this case. The court
             requests appointment of an “A” panel attorney. The draft appointment
             order shall bear the name and other identifying information of the CJA
             Panel attorney identified in accordance with the Criminal Justice Act Plan
             for this district.

      2)     Standby counsel shall enter an appearance promptly upon appointment.
             Defendant's appointed counsel shall provide all case materials for review by
             defendant's standby counsel. Standby counsel shall confer with the
             defendant prior to the status conference on April 17, 2013.

      3)     A status conference will be held before the undersigned on April 17, 2013
             at 9:30 a.m. in Courtroom #2, United States Courthouse and Federal
             Building, 100 Centennial Mall North, Lincoln, Nebraska. The defendant,
             defendant’s current appointed counsel, defendant’s standby appointed
             counsel, and counsel for the government shall be present at the hearing.
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    4)    The clerk shall promptly provide a copy of this order to the Federal Public
          Defender.

    5)    Due to the potential change of counsel, and with the defendant’s
          understanding and consent, the time between today’s date and April 17,
          2013, shall be deemed excludable time in any computation of time under
          the requirements of the Speedy Trial Act, for the reason that the defendant
          needs additional time to adequately prepare the case, and a failure to grant
          additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(1)(D) and (h)(7)(A) & (B).

    March 7, 2013.


                                            BY THE COURT:
                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge




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